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                                                                   kmp7299/L
                                                                   Return Date & Time:
                                                                   September 11, 2019 at 10:00 AM


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X       Chapter 13 Case No: 19-22597 SHL
IN RE:
                                                                   NOTICE OF MOTION
JOHN C. BUCHANAN,

                                              Debtor(s).
-----------------------------------------------------------X

                   PLEASE TAKE NOTICE, that upon the within application, the Chapter 13 Trustee will
move this court before the Honorable Sean H. Lane, U.S. Bankruptcy Judge, at the United States
Bankruptcy Court, 300 Quarropas Street White Plains, NY 10601, on September 11, 2019 at 10:00
AM, or as soon thereafter as counsel can be heard, for an Order pursuant to 11 U.S.C. §1307(c)
for cause, dismissing this Chapter 13 case and for such other and further relief as may seem just
and proper.
                   Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the basis
of the response.



Date: White Plains, New York
      August 19, 2019

                                                               /s/ Krista M. Preuss
                                                               KRISTA M. PREUSS, CHAPTER 13 TRUSTEE
                                                               399 KNOLLWOOD ROAD, STE 102
                                                               WHITE PLAINS, NY 10603
                                                               (914)328-6333
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                                                                kmp7299/LRE
                                                                Return Date & Time:
                                                                September 11, 2019 at 10:00 AM
 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X   Chapter 13 Case No: 19-22597 SHL
 IN RE:
                                                                APPLICATION
 JOHN C. BUCHANAN,

                                               Debtor(s).
 -----------------------------------------------------------X

 TO THE HONORABLE SEAN H. LANE, U.S. BANKRUPTCY JUDGE:

        KRISTA M. PREUSS, ESQ., Standing Chapter 13 Trustee in the above-captioned estate,
 respectfully represents the following:

       1.    The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on March 11,
 2019, and thereafter KRISTA M. PREUSS was duly appointed and qualified as Trustee.

         2.      The Debtor failed to comply with 11 U.S.C. §521(e)(2)(A)(i) in that the Debtor has
 not provided the Trustee with a copy of a Federal and State income tax returns or transcripts
 thereof for the most recent year, specifically 2018, although the Trustee has received a request
 for an extension of time to file.

          3.     The Debtor failed to provide the Trustee with documentation of the current value of
all real property in which the Debtor has an ownership interest.

        4.     The Debtor failed provide to the Trustee and file with the Court copies of verified
 monthly business operating reports.

        5.    The Debtor has failed to amend the Plan to include secured Claim # 1 of New York
 State Department of Taxation & Finance in the sum of $5,373.89.

         6.      The Debtor’s proposed Chapter 13 plan is not feasible as it is not adequately funded
 to provide for full repayment to the secured claims as required by 11 U.S.C. §1325(a)(5).

         7.     The Debtor’s failure as stated above impedes the Trustee’s ability to administer
this case and, therefore, is a default that is prejudicial to the rights of the creditors of the Debtor
pursuant to 11 U.S.C. §1307(c)(1).

        8.     The foregoing constitutes cause to dismiss this Chapter 13 case within the meaning
 of 11 U.S.C. §1307(c).
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        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an Order
dismissing this Chapter 13 case and for such other and further relief as may seem just and proper.

Dated: White Plains, New York
       August 19, 2019
                                                            /s/ Krista M. Preuss
                                                            Krista M. Preuss, Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 19-22597 SHL
IN RE:
                                                               CERTIFICATE OF SERVICE BY MAIL
JOHN C. BUCHANAN,

                                              Debtor(s).
-----------------------------------------------------------X
                    This is to certify that I, Lois Rosemarie Esposito, have this day served a true,
accurate and correct copy of the within Notice of Motion and Application by depositing a true copy
thereof enclosed in a post-paid wrapper, in an official depository under the exclusive care and
custody of the U.S. Postal Service within New York State, addressed to each of the following
persons at the last known address set forth after each name:

John C. Buchanan
One Crosby Road
North Salem, New York 10560

Clair & Gjertsen, Esqs.
4 New King Street # 140
White Plains, New York 10604

U. S. BANK National Association
Rushmore Loan Management Services, LLC
c/o Gross Polowy, LLC
1775 Wehrle Drive # 100
Williamsville, New York 14221

U. S. BANK National Association
Rushmore Loan Management Services, LLC
P.O. Box 55004
Irvine, California 92619

NYS Department of Taxation & Finance
Bankruptcy Section
P.O. Box 5300
Albany, New York 12205


This August 19, 2019

/s/Lois Rosemarie Esposito
Lois Rosemarie Esposito, Paralegal Case Support
Office of the Standing Chapter 13 Trustee
Krista M. Preuss, Esq.
399 Knollwood Road, Suite 102
White Plains, New York 10603
(914) 328-6333
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CHAPTER 13 CASE NO:19-22597 SHL
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
IN RE:

JOHN C. BUCHANAN,


Debtor(s).


                         NOTICE OF MOTION, APPLICATION
                                      and
                            CERTIFICATE OF SERVICE




                                KRISTA M. PREUSS
                         STANDING CHAPTER 13 TRUSTEE
                         399 KNOLLWOOD ROAD, SUITE 102
                          WHITE PLAINS, NEW YORK 10603
                                  (914) 328-6333
